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                      EXHIBIT
                        B
                      Pls.' First Set of
                   Requests for Production,
                       Oct. 24, 2016
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FT. MYERS DIVISION

LESLY METHELUS, on behalf ofY.M.,                         )
a minor; ROSALBA ORTIZ, on behalfofG.O.,                  )
a minor; ZOILA LORENZO, on behalf of M.D.,                )
a minor; MARIE ANGE JOSEPH, on behalf of                  )
K.V., a minor; EMILE ANTOINE, on behalf                   )
ofN.A., a minor; LUCENIE HILAIRE                          )
DUROSIER, on behalf of T.J.H., a minor; on                )
behalf of themselves and all others similarly             )
situated,                                                 )   Civil Case No.
                                                          )   2:16-cv-00379-SPC-MRM
        Plaintiffs,                                       )
                                                          )
V.                                                        )
                                                          )
THE SCHOOL BOARD OF COLLIER                               )
COUNTY, FLORIDA, and KAMELA PATTON,                       )
Superintendent of Collier County Public Schools,          )
in her official capacity,                                 )
                                                          )
       Defendants.                                        )
                                                          )

 PLAINTIFFS' FIRST REQUESTS FOR PRODUCTION TO DEFENDANTS COLLIER
              COUNTY SCHOOL BOARD AND KAMELA PATTON

       In accordance with Rule 34 of the Federal Rules of Civil Procedure, Plaintiffs, through

undersigned counsel, request that Defendants the School Board of Collier County, Florida and

Superintendent Kamela Patton produce the following documents, records, and things for

inspection and copying within thi1iy (30) days of service of these requests at the offices of the

Southern Pove1iy Law Center, 4770 Biscayne Boulevard, Suite 760, Miami, FL 33137.

       In accordance with the provisions of Rule 34(b), Plaintiffs request that Defendant

organize and label these documents, records and data to conespond with the categories in this

request. Defendant should produce all documents and things requested below which are in its

custody, possession or control, as well as those in the possession, custody or control of its agents,


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co-workers, paiiners, officers, directors, employees, joint ventures, bookkeepers, accountants,

attorneys, and all others from whom Defendant may freely secure these documents and things.

        If the Defendant objects to fully identifying a document or oral communication because

of a privilege, it shall describe the nature of the documents, communications, or things not

produced or disclosed in a manner that, without revealing infmmation itself privileged or

protected, will enable the Plaintiffs to assess the applicability of the privilege or protection

claimed.

       The Defendant is obligated to supplement or correct its response under the circumstances

specified in Federal Rule of Civil Procedure 26(e).

                             DEFINITIONS AND INSTRUCTIONS

        1.     The word "document" includes all "writings," "recordings," and "photographs,"

as those te1ms are defined in Federal Rule of Evidence 1001, and should be construed in the

broadest sense permissible. Accordingly, "document" includes, but is not limited to, all written,

printed, recorded or graphic material, photographic matter, sound reproductions, or other

retrievable data (whether recorded, taped, or coded electrostatically, electromagnectically,

optically or otherwise on hard drive, compact disk, primary or backup tape, audio tape, video

tape, or DVD) from whatever source derived and however and by whomever prepared, produced,

reproduced, disseminated, or made. Without limiting the generality of the foregoing, "document"

includes the original and any non-identical copy and also every draft and proposed draft of all

c01Tespondence, internal memoranda, facsimiles, electronic mail, reports, transcripts of telephone

conversations, diaries, notebooks, minutes, notes, tests, repmis, analyses, studies, testimony,

speeches, worksheets, maps, chaiis, diagrams, computer printouts, online profiles, postings,

messages (including, without limitation, tweets, replies, retweets, direct messages, status



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updates, wall comments, groups joined, activity streams, and blog entries), and other writings or

materials of any nature whatsoever, whether or not divulged to other parties, together with any

attachments thereto and enclosures therewith. In addition, the word "document" encompasses all

forms and manifestations of electronically or optically coded, stored, and/or retrievable

information, including but not limited to "e-mail," "voice mail," digital images and graphics,

digital or analog audiotapes and files, and digital or analog videotapes and files.

          2.    "You" or "your" refers to Defendants the School Board of Collier County

(Florida), Superintendent Kamela Patton, and/or any associated corporate entities, as well as any

employees, officers, supervisees, directors, partners, agents, apparent agents, accountants,

attorneys, and all other "persons" acting for them or purpo1iing to represent it or to act on their

behalf.

          3.   "The District" refers to the School District of Collier County, Florida.

          4.   "ELL" refers to "English Language Learner(s)" and is synonymous with the term

"English Learner(s)" ("ELs") and "Limited English Proficient" ("LEP") .

          5.   "ESOL" refers to English for Speakers of Other Languages and is synonymous

with "ESL" ("English as a Second Language").

          6.   The words "relate to" or "relating to" mean: pe1iains to, reflects, reflecting, tends

to reflect, refers to, touches on, contains, concerns, describes, embodies, mentions, constitutes,

constituting, suppmis, and/or cmrnborates.

          7.   The singular shall include the plural and vice versa, the te1ms "and" or "or" shall

be both conjunctive and disjunctive, and the te1m "including" means "including without

limitation."




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        8.      You must produce the requested documents as they are kept in the usual course of

business or you must organize and label them to correspond with the categories in this request.

Electronically stored information must be produced in its native fo1mat, without alterations of

any kind.

        9.     In response to these requests for production of documents, you are to furnish such

documents as are available to you and any to which you have access and any that are currently in

your possession or that of any agent, servant, or employee, included but not limited to

contractors, attorneys, and individual school employees.

        10.    If any requested document was but is no longer in your custody or possession or

subject to your control, state whether it (a) is missing or lost, (b) has been destroyed, or (c) has

been otherwise disposed of. In each such instance, explain the circumstances surrounding such

disposition and state the date or approximate date thereof. If the documents are unavailable

because they have been destroyed, state fu11her the identity of the person who ordered them

destroyed and/or who destroyed them together with the reason for their destruction.

        11.    If any documents are withheld from production on the basis of a claim of

privilege, exemption from discovery, or other objection, please furnish the following information

for each such document:

               a. description of the document (e.g., letter, deed, memorandum, computer data

                   file, etc.), including its title if it has any;

               b. date(s) the document was generated or created;

               c. name, address, and telephone number of the author(s) of the document;

               d. name, address, and telephone number of any indicated recipient(s) of the

                   document;



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               e. name, address, and telephone number of every person to whom the document

                    has ever been disclosed, and the date(s) and circumstances of each such

                    disclosure;

               f.   subject matter of the document;

               g. name, address, telephone number, and position of the person(s) who have

                    custody or control over the document;

               h. number of pages comprising the document;

               1.   any associated or attached documents, and

               J.   basis for claiming privilege or exemption from discovery.

       12.     Versions of a "document" in different languages or formats are different

 documents and must be separately produced.

                              DOCUMENTS TO BE PRODUCED

REQUEST FOR PRODUCTION NO. 1

Please produce all documents (including but not limited to e-mails), relating to the following
students: Youdens Methelus, Gerson 01iiz, Magnolia Domingo, Nehemy Antoine, Techeler
Junior Hilaire, and Kenlove Victor.

REQUEST FOR PRODUCTION NO. 2

Please produce all documents (including but not limited to e-mails) relating to policies and
procedures for high school emollment, including but not limited to emollment/registration forms
and packets for students seeking emollment in the District's public schools serving grades 9-12,
from 2011 to the present.

REQUEST FOR PRODUCTION NO. 3

Please produce all documents (including but not limited to e-mails) related to the development,
amendment, promulgation, and dissemination of the policies or procedures referenced in Request
for Production #2.




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REQUEST FOR PRODUCTION NO. 4

Please produce all documents (including but not limited to e-mails) relating to the policies and/or
practices for school emollment of individuals ages 15 and older, including but not limited to
conespondence to or from District staff members, guidance memoranda, school staff
communications, meeting minutes and notes, and training and workshop materials, from 2011 to
the present.

REQUEST FOR PRODUCTION NO. 5

Please produce all documents (including but not limited to e-mails) from 2011 to the present
relating to emollment or education of teenage students with intenupted or limited formal
education (SLIFE), including but not limited to conespondence to or from District staff
members, guidance memoranda, school staff communications, meeting minutes and notes, list
serv communications, and training and workshop materials.

REQUEST FOR PRODUCTION NO. 6

Please produce all documents related to your policies and procedures from 2011 to the present
for obtaining transcripts or other student academic records from school districts:
                   • Within the United States; and
                   • Outside the United States.

REQUEST FOR PRODUCTION NO. 7

Please produce all documents from 2011 to the present relating to how you and your employees
dete1mine the equivalent U.S. grade levels for students presenting academic credentials from
non-U.S. schools.

REQUEST FOR PRODUCTION NO. 8

Please produce all documents identifying by student demographic characteristics (age, gender,
race, ethnicity, country of birth, national origin, and English Language Learner (ELL) status)
individuals emolled for the first time in each District school serving grades 9-12, from 2011 to
the present, disaggregated by who have come from:
                 • Other Florida counties;
                 • U.S. states other than Florida; and
                • Foreign countries.

REQUEST FOR PRODUCTION NO. 9

Please produce all documents identifying by student student demographic characteristics (age,
gender, race, ethnicity, country of bilih, national origin, and ELL status), all individuals who
attempted but were denied emollment in each District school serving grades 9-12, from 2011 to
the present, and the reason(s) for denial, disaggregated by those who have come from:
                • Other Florida counties;

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               •   U.S. states other than Florida; and
               •   Foreign countries.

REQUEST FOR PRODUCTION NO. 10

Please produce all documents (including but not limited to e-mails) concerning any denials of
emollment or requests for reconsideration/ appeals of emollment denials of foreign-born
individuals in any District school serving grades 9-12, from 2011 to the present, including but
not limited to communications to, from, or pe1iaining to:
                   • Catholic Charities;
                   • Michael Scanlan
                   • Daisy Duran
                   • Legal Aid Service of Collier County
                   • Gordon Morgan;
                   • Najila Morgan;
                   • Adalia Morgan; and
                   • Employees of the Florida Department of Education.

REQUEST FOR PRODUCTION NO. 11

Please produce all documents reflecting the number of ELL students emolled at District high
schools by school, race, ethnicity, national origin, age, ELL status, and English proficiency level
(newcomer, intermediate, advanced) from 2011 to the present.

REQUEST FOR PRODUCTION NO. 12

Please produce all documents relating to policies and procedures for evaluation and placement of
ELL students from 2011 to the present at all District schools serving grades 9-12.

REQUEST FOR PRODUCTION NO. 13

Please produce the District's home language survey used from 2011 to the present.

REQUEST FOR PRODUCTION NO. 14

Please produce all documents reflecting the cmTicular content of the English for Speakers of
Other Languages (ESOL) program provided to ELL students at District high schools, including
program differentiation for newcomer, inte1mediate, and advanced English proficiency levels
from 2011 to the present.

REQUEST FOR PRODUCTION NO. 15

Please produce all data reflecting the performance of students emolled in District high school
ESOL programs on English language writing, speaking, listening, and reading proficiency
assessments by student race, ethnicity, national origin, age, and ELL status and level (newcomer,
inte1mediate, advanced), from 2011 to the present.

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REQUEST FOR PRODUCTION NO. 16

Please produce all data reflecting the monitoring of students exited from the District's high
school ESOL programs by location, including student race, ethnicity, national origin, age, and
ELL status and level (newcomer, inte1mediate, advanced), from 2011 to the present.

REQUEST FOR PRODUCTION NO. 17

Please produce all documents reflecting high school graduation requirements for students
enrolled in District public high schools, including grade point average (GP A), number of credits,
and any state assessment score requirements, from 2011 to the present.

REQUEST FOR PRODUCTION NO. 18

Please produce all documents relating to the District's Student Progression Plans in effect for the
following school years: 2011-12, 2012-13, 2013-14, 2014-15, 2015-16, and 2016-17.

REQUEST FOR PRODUCTION NO. 19

Please produce all documents showing student performance on standardized assessments in
reading, writing or mathematics, or for any end of course ("EOC") assessments, including in
Algebra I, Geometry, Algebra II, Biology I, United States History, and Civics; in each District
school serving grades 9-12, by age, gender, race, ethnicity, national origin, and ELL status, from
2011 to the present.

REQUEST FOR PRODUCTION NO. 20

Please produce all documents showing, by age, gender, race, ethnicity, national origin, and ELL
status from 2011 to the present:

                    •   the number of students retained by grade; and
                    •   the number of overage students by grade;

REQUEST FOR PRODUCTION NO. 21

Please produce all documents reflecting the number of students withdrawn from each District
high school, by age, race, national origin, ethnicity, ELL status, and reason(s) for withdrawal,
from 2011 to the present.

REQUEST FOR PRODUCTION NO. 22

Please produce all documents reflecting all individuals by age, gender, race, ethnicity, national
origin, and ELL status, who have filed a formal declaration of intent to terminate school
enrollment with the school board from 2011 to the present, for each District school.




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 REQUEST FOR PRODUCTION NO. 23

 Please produce all documents relating to Collier County School Board Policy 5112.01from2011
 to the present, including drafts, meeting minutes, notes, communications to and from District and
 school staff (including but not limited to e-mails), bulletins, memoranda, and all other documents
 related to the development, promulgation, adoption, application, interpretation, and content of
 this policy.

 REQUEST FOR PRODUCTION NO. 24

 Please produce all documents reflecting policies and procedures for identification, evaluation,
 and placement of students not on track for graduation pursuant to School Board Policy 5112.01.

 REQUEST FOR PRODUCTION NO. 25

 Please produce all documents listing or describing the individuals denied emollment at District
 high schools pursuant to School Board Policy 5112.01 by school, age, race, ethnicity, national
 origin, and ELL status, from 2011 to the present.

 REQUEST FOR PRODUCTION NO. 26

 Please produce all documents reflecting the number of students described in Request for
 Production No. 21 who were withdrawn from school pursuant to School Board Policy 5112.01
 by school, age, race, ethnicity, national origin, and ELL status, from 2011 to the present.

 REQUEST FOR PRODUCTION NO. 27

 Please produce all documents reflecting the number of students described in Request for
 Production No. 21 who emolled in the District's Adult High School, Technical Career or
 Vocational Programs, Adult ESOL, or GED programs, by sending school, receiving program,
 age, race, ethnicity, national origin, and ELL status, from 2011 to the present.

 REQUEST FOR PRODUCTION NO. 28

 Please produce all documents reflecting policies and practices from 2011 to the present for
 refenfog individuals ages 15 and over (including both cmTent and prospective high school
 students) to :
                     • Adult ESOL;
                     • Technical Colleges (including but not limited to Immokalee Technical
                        College (iTech) and Lorenzo Walker Technical College (iTech) or
                        career/vocational programs;
                     • Adult high school; and
                     • Florida vi1iual school.




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 REQUEST FOR PRODUCTION NO. 29

 Please produce all documents listing or describing individuals emolled in following programs of
 the District from 2011 to the present, by school, age, race, ethnicity, national origin, and ELL
 status:
                    • Adult ESOL;
                    • GED preparation;
                    • Adult basic education; and
                    • Adult high school.

 REQUEST FOR PRODUCTION NO. 30

 Please produce all documents reflecting the courses of study, cunicula, hours, and locations for :
 District programs from 2011 to the present for :
                    • Adult ESOL;
                    • GED preparation;
                    • Adult basic education; and
                    • Adult high school.

 REQUEST FOR PRODUCTION NO. 31

 Please produce all documents relating to policies and procedures for Adult ESOL enrollment,
 including registration and/or enrollment forms and packets for individuals seeking enrollment in
 Adult ESOL programs made available by the District, from 2011 to the present.

 REQUEST FOR PRODUCTION NO. 32

 Please produce all documents relating to the criteria for evaluation and assessment of English
 language writing, speaking, listening, and reading proficiency for students emolled in Adult
 ESOL programs, from 2011 to the present.

 REQUEST FOR PRODUCTION NO. 33

 Please produce all data reflecting the performance of students emolled in Adult ESOL programs
 on English language writing, speaking, listening, and reading proficiency assessments, by
 location, including student race, ethnicity, national origin, age, and ELL status and level
 (newcomer, inte1mediate, advanced), from 2011 to the present.

 REQUEST FOR PRODUCTION NO. 34

 Please produce all data reflecting the monitoring of students exited from the District's Adult
 ESOL programs by location, including student race, ethnicity, national origin, age, and ELL
 status and level (newcomer, inte1mediate, advanced), from 2011 to the present.




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 REQUEST FOR PRODUCTION NO. 35

 Please produce all documents reflecting the credits toward a high school diploma that may be
 earned through District Adult ESOL Programs, from 2011 to present.

 REQUEST FOR PRODUCTION NO. 36

 Please produce all data pertaining to individuals who transferred from District Adult Educational
 programs (including Adult ESOL, GED programs, and any technical/vocational programs) into
 District high schools, from 2011 to the present.

 REQUEST FOR PRODUCTION NO. 37

 Please produce all data listing or describing individuals enrolled in District Adult Educational
 programs (including Adult ESOL, GED programs, and any technical/vocational programs) who
 earned standard District high school diplomas, from 2011 to the present.

 REQUEST FOR PRODUCTION NO. 38

 Please produce all data showing the individuals who enrolled in both Adult ESOL and other
 instructional programs offered by the District by school, age, race, ethnicity, national origin, ELL
 status, and county of origin, from 2011 to the present.

REQUEST FOR PRODUCTION NO. 39

Please produce all documents listing or describing fees charged for participation in the Adult
ESOL, GED, and any technical/vocational programs offered by the District, including but not
limited to fees for enrollment, student identification cards, books, and any other required
materials, from 2011 to the present.

REQUEST FOR PRODUCTION NO. 40

Please produce all documents relating to the name(s), title(s), dates of employment,
qualifications, ce1iificates, ce1iifications, and other credentials, including foreign language
proficiencies, for:
                 • Superintendent Kamela Patton;
                 • The District coordinator for ELL services from 2011 to the present;
                 • The District ELL compliance specialist from 2011 to the present;
                 • Christy Kutz;
                 • ESOL instructors or paraprofessionals at all District schools serving grades
                     9-12 from 2011 to the present;
                 • Principals and front desk staff at all District schools serving grades 9-12 from
                     2011 to the present;
                 • Past principals and front desk staff at iTech and Lorenzo Walker, or any
                     other District technical college, from 2011 to the present;


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                 •   Adult ESOL instructors or paraprofessionals at iTech and Lorenzo Walker,
                     or any other Adult Education center or District technical college, from 2011
                     to the present.

 REQUEST FOR PRODUCTION NO. 41

 Please produce all documents reflecting data showing the number of students emolled in high
 school and emolled in credit recovery programs, by school, by race, ethnicity, national origin,
 and ELL status, from 2011 to the present.

 REQUEST FOR PRODUCTION NO. 42

 Please produce all documents reflecting a sample schedule reflecting courses available for
 incoming ELL ninth, tenth, eleventh, and twelfth graders seeking emollment in the District's
 public schools.

 REQUEST FOR PRODUCTION NO. 43

Please produce all documents reflecting opp01tunities for free tutoring, mentoring, and other
emichment opportunities available to ELL students in every District high school, from 2011 to
the present.

REQUEST FOR PRODUCTION NO. 44

Please produce all documents reflecting opp01tunities for free tutoring, mentoring, and other
emichment opp01tunities available to students emolled in the District's Adult ESOL programs,
from 2011 to the present.

REQUEST FOR PRODUCTION NO. 45

Please produce all documents relating to extra-cmTicular activities; credit-bearing elective
courses; honors or gifted programming; credit-bearing Career Technical Education (CTE)
programming; and athletics sports programs offered at all District high schools, from 2011 to the
present.

REQUEST FOR PRODUCTION NO. 46

Please produce all documents relating to extra-cunicular activities; credit-bearing elective
courses; honors or gifted programming; credit-bearing Career Technical Education (CTE)
programming; and athletics spo1is programs offered at iTech, Lorenzo Walker, and any other
Technical Colleges or Adult Education Centers operated by the District from 2011 to the present.

REQUEST FOR PRODUCTION NO. 47

Please produce all documents describing codes or coding categories used in any of the
documents produced pursuant to the foregoing requests.


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 REQUEST FOR PRODUCTION NO. 48

 Please produce all documents relating to any federal, state, or local government agency or law
 enforcement investigation(s) directed at you from 2011 to the present, related to compliance with
 civil rights and/or anti-discrimination laws or the federal or state constitutions.

 REQUEST FOR PRODUCTION NO. 49

 Please produce all documents pe1iaining to any current or past complaints, charges,
 investigations, lawsuits, or claims that have been directed at you in which the complaining or
 charging paiiy or parties alleged unfair or discriminatory treatment and/or violations of civil
 rights laws or the federal or state constitutions, from 2011 to the present.

 REQUEST FOR PRODUCTION NO. 50

 Please produce all documents pertaining to the practices and policies of the District related to
 compliance with federal , state, and local laws related to discrimination based on race, alienage,
 national origin, and ELL/LEP status, from 2011 to the present.

 REQUEST FOR PRODUCTION NO. 51

 Please produce copies of all documents that address your policies or practices related to
 recordkeeping, document retention, and document destruction.

 REQUEST FOR PRODUCTION NO. 52

 Please produce all documents upon which you have relied in preparing your Initial Disclosures
 or to which you referred in your Initial Disclosures in this case.

 REQUEST FOR PRODUCTION NO. 53

 Please produce all documents that you contend supp01i your defense of this action.

 REQUEST FOR PRODUCTION NO. 54

Please produce all non-privileged documents, including electronic mail and other electronic
records, which refer to, reflect, or in any way relate to this lawsuit and/or the substances of the
claims or defenses raised in this lawsuit.

                                       Respectfully submitted,




                                       Southern Pove1iy Law Center


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                              Atlanta, GA 30317
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                              4770 Biscayne Blvd., Ste. 760
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                              Jessica.Wallace@splcenter.org

                              Counsel for P la inti.Ifs




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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I have this 24th day of October, 2016, sent via e-mail and
 First Class U.S. mail a copy of the foregoing to the following:

                      James D. Fox
                      Roetzel & Andress, LP A
                      850 Park Shore Drive
                      Trianon Centre - Third Floor
                      Naples, Florida 34103
                      T: 239.649.2705
                      F: 239.261.3659
                      jfox@ralaw.com

                      Jon Fishbane
                      District General Counsel
                      Collier County School District
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                      T: 239.377.0499
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